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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS

_____________________________________
                                     )
IN RE NEURONTIN MARKETING AND )                             MDL Docket No. 1629
SALES PRACTICES LITIGATION           )
_____________________________________)                      Master File No. 04-10981
                                     )
THIS DOCUMENT RELATES TO:            )                      Judge Patti B. Saris
ALL ACTIONS                          )
_____________________________________)


             PLAINTIFFS’ CASE MANAGEMENT CONFERENCE STATEMENT

           The Plaintiffs’ Steering Committee respectfully submits this Case Management

Conference Statement in support of Plaintiffs’ Proposed Case Management Order #2. Several

telephone conferences have been held between Plaintiffs and Defendants in an effort to reach

agreement on the terms of a scheduling order and related matters. While the parties have

narrowed their differences substantially, they have not been able to reach complete agreement on

a schedule, or on a number of other matters, making the filing of a joint proposed order

impracticable. Accordingly, the parties have agreed to submit separate orders for the Court’s

consideration at the February 24, 2005 case management conference. The areas of disagreement

are identified and discussed briefly below.


I.         SCHEDULE

           In keeping with the Court’s statement at the November 23, 2004 case management

conference that discovery would not be stayed pending motions to dismiss, Plaintiffs propose

that fact discovery commence on March 1, 2005, with initial disclosures due on March 31, 2005

(i.e., at the same time as responses to any document requests served on March 1). Defendants




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propose that no discovery or initial disclosures take place until after their motions to dismiss are

fully-briefed on May 16, 2005, so that the parties may focus exclusively on the briefing.

           Plaintiffs propose to file their class certification motion on or before July 1, 2005, with

opposition thereto due 30 days thereafter. Defendants propose that plaintiffs be required to defer

filing their class certification motion until August 1, 2005, and that Defendants be given two and

a half months thereafter to conduct additional class discovery, and three months to file their

opposition.

           Under Plaintiffs’ proposal, Defendants would have five months to conduct class

discovery -- from the commencement of discovery on March 1, 2005 until the filing of their

opposition to class certification on August 1, 2005. Defendants propose that they be given

approximately the same five month period to conduct class discovery, but that discovery not

begin until May 16, and continue for two-and-a-half months after the class certification motion is

filed. Defendants’ proposal turns standard practice on its head. Class discovery should

ordinarily be completed before the motion is filed, not begin in earnest thereafter.

           Defendants would prefer that the Court not set a trial date at this time. Plaintiffs believe

that a trial date of October 1, 2006 is reasonable and should also be set at this time, with

associated deadlines for a pre-trial order and a pre-trial conference.1


II.        OTHER MATTERS

           In addition to a proposed schedule, Plaintiffs respectfully request that the Court make

certain additional orders to facilitate the orderly conduct of the litigation.




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    Plaintiffs reserve the right to seek an earlier trial, should discovery be completed ahead of schedule.



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           A.     Preservation of Evidence

           The parties agree that they have a duty to preserve potentially relevant evidence.

Defendants prefer a simple statement of this fact, without elaboration, while Plaintiffs propose a

more detailed provision.


           B.     Indexing of Documents

           Plaintiffs anticipate that Defendants’ document production(s) will be voluminous,

comprising dozens, if not hundreds, of boxes.2 Plaintiffs do not propose that Defendants be

required to provide them with a document-by-document index, but with a simple listing of the

source and type of documents contained in each box, so that Plaintiffs do not find themselves in

a room full of identical looking boxes with no guide. This would impose no burden at all on the

Defendants, who will undoubtedly produce a more detailed index for their own use prior to

making the production.


           C.     Authentication of Documents

           Plaintiffs respectfully submit that any document produced by a party should be deemed

authentic and a record of regularly conducted business activity, absent a statement by the

producing party articulating a good faith basis for the belief that the document is not authentic

and/or a business record. It would consume an enormous amount of deposition time to lay

foundation for the hundreds of thousands (or millions) of documents produced by Defendants in

Franklin and in this proceeding. Nor is it reasonable to expect the parties to be able to determine

at the outset of the case which subset of documents they may wish to use at trial or summary

judgment. It would be an enormous waste of attorney and witness time, and expense, to require

2
 As discussed with the Court at the November 23, 2004 case management conference, Defendants’ production of
documents in the Franklin case was limited in both time (1998 and earlier) and geographic scope (including only
one of Defendants’ five regional Customer Business Units, or “CBUs”).


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the parties to lay foundation for every document they may wish to use at trial as witnesses are

deposed, and any oversight (or sparing of the witness) in this regard would invite a strategic

objection by the opposing party, after the deposition is concluded or discovery is closed, without

any good faith basis for the objection. The producing party is in the best position to know

whether there is any good faith basis for such an objection, and they should be required to

articulate that objection to preserve it, placing the receiving party on notice that foundation must

be laid, so that this can be done in a timely and efficient manner.


           D.       Limits on Discovery

           Defendants propose that depositions be limited to a single day. Given the complexity of

the case, and the number of documents involved, Plaintiffs propose that depositions be limited to

two days, absent an order of the Court, and that depositions of corporate parties pursuant to Rule

30(b)(6) not be subject to any prior limitation.

           Plaintiffs further propose that no party be required to produce in its initial disclosures or

in response to any document request documents already produced in the related qui tam action.

While Plaintiffs agree that interrogatories seeking the identity of witnesses are proper, Plaintiffs

propose that contention interrogatories not be served, as they are generally unproductive.


           E.       Supplementation of Responses

           Federal Rule of Civil Procedure 26(e) requires that initial disclosures and responses to

discovery requests be supplemented “at appropriate intervals.” Plaintiffs respectfully request

that this interval be fixed at every 90 days.


           F.       Assertion of Privilege




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           While Federal Rule of Civil Procedure 26(b)(5) requires parties claiming a privilege to

provide a factual basis therefore, it provides little guidance as to what constitutes sufficient

information. Plaintiffs’ proposal describes with particularity the required contents of an

acceptable privilege log. Plaintiffs would also prohibit a party from withholding on privilege

grounds any document determined to be non-privileged in related litigation.


           G.     Appointment of Magistrate Judge or Special Master

           Finally, at the November 23, 2004 case management conference, the Court indicated that

it would appoint a Magistrate Judge or Special Master to handle discovery disputes in these

cases. With discovery hopefully about to commence, Plaintiffs respectfully suggest that the

Court may wish to take this matter up at the forthcoming case management conference.



Dated: February 18, 2005                                Respectfully Submitted,

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